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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


   NETLIST, INC.,                     )
                                      )
               Plaintiff,             )
                                      )
                                          Case No. 2:22-CV-203-JRG
         vs.                          )
                                      )
                                          JURY TRIAL DEMANDED
   MICRON TECHNOLOGY, INC.,           )
   MICRON SEMICONDUCTOR               )
   PRODUCTS INC., MICRON              )
   TECHNOLOGY TEXAS LLC,              )
                                      )
               Defendants.            )


           PLAINTIFF NETLIST, INC.’S MOTION TO COMPEL MICRON
         DEFENDANTS TO PRODUCE RELEVANT LICENSE AGREEMENTS
                     AND LISTS OF PATENTS LICENSED
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              Plaintiff Netlist, Inc. (“Netlist”) hereby moves to compel defendants Micron Technology,

      Inc., Micron Semiconductor Products Inc., and Micron Technology Texas LLC (“Micron”) to

      produce relevant licenses or agreements in its possession. Specifically, Micron must produce:

              1. Patent licenses, settlement agreements, covenants not to sue, or related items entered
                 into by any of the Micron Defendants that relate to semiconductors or semiconductor
                 manufacturing, memory products, transistors or circuits, or components of servers or
                 other personal computers, including but not limited to the agreements and renewed
                 agreements Micron entered into with Rambus, Inc.; and

              2. The list of patents licensed by any party as part of each agreement.

      The above-identified documents are directly relevant to the calculation of damages in this matter.

              Netlist has been requesting the relevant licenses and a meet and confer with respect to

      Micron’s document production deficiency for months. However, as of August 1, 2023, a month

      before the close of fact discovery and the deadline for Netlist to serve its opening expert reports,

      Micron has not produced a single license agreement. Micron also refused to provide a date certain

      of its production, or describe the standard Micron will apply in determining which license

      agreements it will produce. Micron’s delay and evasive discovery behavior has improperly

      impeded Netlist’s availability to prepare for depositions and expert reports.

      I.      FACTUAL BACKGROUND

              On November 10, 2022, Netlist sent Micron a letter, identifying 163 categories of

      documents relevant to the parties’ claims and defenses in this Action. Dkt. 94-2. Among others,

      Netlist asked Micron to produce:
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              On January 11, 2023, Netlist served its first set of interrogatories on Micron, which asked

      Micron to identify license agreements relevant to a reasonable royalty analysis in this Action and

      the factual bases showing such license agreements are comparable or incomparable to the parties’

      hypothetical negotiation.




      Micron failed to provide any substantive responses to Rog No.7, but simply stated that Micron

      “will produce non-privileged documents responsive to this Interrogatory pursuant to Federal

      Rule of Civil Procedure 33(d) to the extent they exist.” Dkt. 128-6, at 16. Today, over a month

      and a half after the substantial production deadline, Micron has still not produced a single license

      agreement, nor has it supplemented the interrogatory responses either substantively or by

      identifying any relevant document production.

              On June 16, Netlist asked Micron again to produce the relevant patent licenses, settlement

      agreements, covenants not to sue as well as “the list of patents licensed by any party as part of

      each agreement.” Ex. 1 (2023-06-16 Zhao Email). Among others, Netlist specifically identified

      license agreements that Micron entered into with Rambus, Inc. Id. (“By way of example, Micron

      should produce its license agreements with Rambus and any subsequent renewed license and

      identify the licensed patents.”). The Rambus Agreements were initially entered between Micron

      and Rambus in 2013 under which Micron agreed to pay up to $280 million to use Rambus’s

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      patents for the manufacture of integrated circuit products, which include DRAM products similar

      to Micron’s accused DDR4 LRDIMMs, DDR5 DIMMs, and HBM products at issue in this

      Action.1 Micron and Rambus renewed the agreement recently on September 3, 2020.2

             Because Micron never responded to Netlist’s email or produced the relevant documents,

      Netlist’s counsel followed up on this issue respectively on July 5, July 14, and July 18. See Dkt.

      121-01 at 13 (“As requested in our June 16 email, Micron should produce all patent licenses,

      settlement agreements, covenants not to sue”); at 10 (“As the Court pointed out during our last

      hearing, the deadline for substantial completion of document production was over a month ago

      on June 7, 2023, but Micron has not produced a single license agreement as of today.”); id.

      (“Counsel, I write to follow up again on the discovery deficiencies identified below”). Micron

      either completely ignored Netlist’s requests or only stated that it was “investigating the issue.”

      Micron never objected to Netlist’s requests as irrelevant or overly burdensome.

             At the parties’ meet and confer on July 20, counsel for Micron stated that it was collecting

      license documents but refused to provide a specific date for production, nor any explanation why

      it has not produced licenses on a rolling basis. When asked whether Micron will produce the

      Rambus agreements, Micron stated that it believes those agreements are not comparable to the

      parties’ hypothetical negotiation and therefore would likely withhold them. Despite Netlist’s

      further attempts to ask Micron to explain the standard it applied in determining which license

      agreements it will produce and what they will withhold, Micron refused to answer.

             In light of Micron’s evasive answer and delay in producing licenses, the parties had a

      lead/local counsel meet and confer on July 28. Micron again refused to confirm it would produce


             1
               See https://www.rambus.com/rambus-and-micron-sign-license-agreement/; see also
      https://www.sec.gov/Archives/edgar/data/917273/000091727314000007/rmbs-
      ex1016_20131231xq4.htm.
             2
              https://investor.rambus.com/press-releases/press-release-details/2020/Rambus-and-
      Micron-Extend-Patent-License-Agreement/default.aspx.

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      all relevant license agreements, including the Rambus agreements, and refused to identify a date

      certain for its production. Although Micron stated that it would have an answer by the end of

      day on July 28, Micron never provided any response after the meet and confer. Netlist once again

      has to seek the Court’s intervention to address Micron’s discovery deficiencies.

      II.     ARGUMENT

              Rule 26 allows a party to obtain discovery regarding any subject relevant to the claim or

      defense of any party. Fed. R. Civ. P. 26(b)(1); L.R. 26(d). “The party resisting discovery must

      show specifically how each discovery request is not relevant or how each request is overly broad,

      burdensome, or oppressive.” Williams v. Steward Health Care Sys., LLC, 2021 WL 7084166, at *4

      (E.D. Tex. Dec. 16, 2021) (citation omitted).

              Request 1 seeks license and/or settlement agreements entered into by the defendants for

      patents relating to semiconductors, semiconductor manufacturing, memory products, transistors

      or circuits, or components of servers or other personal computers.

              Courts in this district consistently allow broad discovery into potentially relevant license

      agreements. See Maxell Ltd. v. Apple Inc., 2019 WL 7905454, at *3 (E.D. Tex. Nov. 13, 2019)

      (granting patentee’s motion to compel production of “all patent licenses…or other agreements

      [c]oncerning patents or intellectual property . . . that relate to the Accused Products or products

      that are reasonably similar to the Accused Products”) (emphasis added); Cywee Grp. Ltd. v. Samsung

      Elecs. Co., 2018 WL 4112055, at *1-2 (E.D. Tex. Jan. 23, 2018) (compelling production of “any

      agreement (past and present) that includes a license… or other rights to use, make, sell, offer to

      sell or import Accused Products or Additional Products in the United States”). Even where a

      defendant contends a license covers patented technology it believes is not comparable, that is not

      a sufficient basis to shield the license from discovery. See Mirror Worlds Techs., LLC v. Apple Inc.,

      2016 WL 4265758, at *1 (E.D. Tex. Mar. 17, 2016) (“[Defendant]’s response that the technologies

      are dissimilar, by itself, does not demonstrate that the withheld agreements are irrelevant, overly

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      broad, unduly burdensome or oppressive, and thus should not be produced”).

              Micron does not deny the licenses agreements Netlist seeks exist, nor does Micron deny

      that “semiconductors, semiconductor manufacturing, transistors or circuits, or components of

      servers or other personal computers” are related to the technology at issue. Micron also does not

      contend that searching for patent licenses that it has entered into is not proportional to the needs

      of the case. Instead, Micron unilaterally limited its search and production of license agreements

      to what it contends as “comparable” to the parties’ hypothetical negotiation by refusing to

      produce, for example, the Rambus agreements clearly relevant to the memory technologies at

      issue in this Action. There is no basis for Micron to limit its search in this manner.

              Further, the Rambus agreements were entered in connection with settlement of lawsuits

      Rambus brought against Micron, whereby Rambus asserted infringement by Micron’s DRAM

      products (e.g. DDR2 memory modules). The accused products in this Action include DRAM

      products as well. See Dkt. 70 (accusing Micron’s DDR4, DDR5). A redacted version of the 2013

      Rambus agreement, which is publicly available, clearly shows that it is related to “Semiconductor

      Patents” and “DRAM” products, just like the accused products here.3




      Further, in the lawsuit between Netlist and Samsung involving the same patents in suit, this Court



              3 See https://www.sec.gov/Archives/edgar/data/917273/000091727314000007/rmbs-

      ex1016_20131231xq4.htm.

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      allowed testimony and evidence regarding license agreements between Rambus and Samsung as

      potentially comparable licenses. See Trial Tr., Netlist, Inc. v. Samsung Elec. Co., Ltd., No. 21-cv-463,

      Dkt.490 at 680-81 (E.D. Tex. Apr. 28, 2023). Rambus entered the license agreements with

      Micron and Samsung to reach a resolution of parallel litigations involving Rambus’s patents. In

      addition, the Samsung-Rambus licenses cover the same memory technologies and patents as the

      Micron-Rambus agreements Netlist now seeks from Micron.4

              Micron’s argument that the Rambus license or any other license is not comparable is not

      a basis to shield it from discovery. Comparability is a contested issue to be determined by expert

      witnesses. Micron cannot unilaterally decide what is comparable, and then refuse discovery to

      prevent Netlist from rendering its own analysis. That Netlist has had to file multiple motions to

      compel in this action because Micron has consistently taken this tact of unilaterally deciding the

      scope of discovery in this case is telling. Micron is taking an extreme gamesmanship approach to

      discovery, and should not be rewarded.

              Request 2 asks Micron to provide a complete list of the patents licensed under the

      agreements Micron produces (or should produce as a result of this motion to compel). Such

      information is necessary to determine whether a license agreement is comparable, technically and

      economically. District courts have required production of such information. See Sportvision, Inc. v.

      MLB Advanced Media L.P., 2022 WL 92758, at *3 (S.D.N.Y. Jan. 10, 2022) (granting patentee’s

      motion to compel to “identify . . . the patents that are the subject of the 12 patent licenses [the

      defendant] identified” and noting “if there is any reasonable possibility that the technology

      underlying [these] licenses could be considered comparable,” they should be produced). Netlist’s

      request is proportional to the needs of this case and it only requests that Micron produce the list



              4
               Compare Fn.3 with the redacted version of Rambus-Samsung settlement agreement,
      https://www.sec.gov/Archives/edgar/data/917273/000091727310000028/ex10_1.htm.

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       of patents covered by each agreement to the extent Micron has such list in its possession. Micron

       never denied that it has such patent lists in its possession or explained why producing such patent

       lists would be overly burdensome.

       III.   CONCLUSION

              For the reasons stated above, Netlists’ motion should be granted.


       Dated: August 1, 2023                            Respectfully submitted,

                                                        /s/ Jason Sheasby

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                                     CERTIFICATE OF SERVICE

              I hereby certify that, on August 1, 2023, a copy of the foregoing was served to all counsel

       of record via the Court’s ECF system.

                                                             /s/ Yanan Zhao
                                                             Yanan Zhao



                                  CERTIFICATE OF CONFERENCE

              I hereby certify that, on July 28, 2023 the lead and local counsel of each side met and

       conferred. The parties are at an impasse because Defendants refuse to provide the requested

       documents.


                                                             /s/ Yanan Zhao
                                                             Yanan Zhao




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